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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 21-CV-62182-SMITH


  UNITED STATES OF AMERICA

  v.

 APPROXIMATELY 919.30711258 ETHER COINS
 SEIZED FROM ETHEREUM WALLET ADDRESS
 0x71949d87258c4ca6827730c337f80907d73c780;

  APPROXIMATELY 2.65995166 BITCOINS
  FORMERLY HELD IN BITCOIN WALLET
  ADDRESS
  16qq4DGd2R9vcK5xmV5nRQmoZn2WZVSYK1;
  AND

  ALL VIRTUAL CURRENCY SEIZED ON OR
  ABOUT JUNE 16, AND 19, 2017, AND FORMERLY
  HELD IN BITCOIN WALLET ADDRESS
  12EZr5x8mFpxS6ypNobhPXmyj4BbRkm6GW,
  INCLUDING, BUT NOT LIMITED TO,
  APPROXIMATELY 640.26804512 BITCOINS
  APPROXIMATELY 640.2716098 BITCOIN CASH;
  APPROXIMATELY 640.2715428 BITCOIN GOLD;
  AND APPROXIMATELY 640.2716043 BITCOIN SV,

                 Defendants In Rem.


                             DECLARATION OF PUBLICATION

        Notice of Civil Forfeiture was posted on an official government internet site

 (www.forfeiture.gov) for at least 30 consecutive days, beginning on November 3, 2021, as required

 by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims and Asset




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 Forfeiture Actions, as evidenced by Attachment 1.

                                                     Respectfully submitted,

                                                     JUAN ANTONIO GONZALEZ
                                                     UNITED STATES ATTORNEY

                                            By:      /s/ Mitchell E. Hyman__________
                                                     Mitchell E. Hyman
                                                     Assistant United States Attorney
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